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                             By Tim Gorman at 4:18 pm, Jun 25, 2021
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                         Substitute Assets Provision
                   (Applicable to All Forfeiture Allegations)

      If any of the above-described forfeitable property, as a result of any act or

omission of the defendants:

      (a)    cannot be located upon the exercise of due diligence;

      ( b)   has been transferred or sold to, or deposited with, a third party;

      (c)    has been placed beyond the jurisdiction of the Court;

      (d )   has been substantially diminished in value; or

      (e)    has been commingled with other property which cannot be

             subdivided without difficulty,

the United States of America shall be entitled to forfeiture of substitute assets

pursuant to Title 18, United States Code, Section 1963(m), and Title 21, United

States Code, Section 853(p).



                                                   A TRUE BILL




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Acting United States Attorney




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